  Case 21-08044      Doc 77     Filed 05/26/22 Entered 05/26/22 10:54:37          Desc Main
                                  Document     Page 1 of 9



                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

       IN RE:                                      )       CHAPTER 11
                                                   )
       HARI 108, LLC,                              )       CASE NO. 21-08044
                                                   )
                              DEBTOR.              )       Hon. Timothy A. Barnes


                                       NOTICE OF MOTION

        PLEASE TAKE NOTICE that on Wednesday, June 22, 2022, at 9:00 a.m., I will appear
before the Honorable Timothy A. Barnes, or any judge sitting in that judge’s place, and present
the U.S. Trustee’s UNITED STATES TRUSTEE’S MOTION TO CONVERT OR DISMISS
CASE PURSUANT TO 11 U.S.C. 1112(b), a copy of which is attached.

       This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the motion,
you must do the following:

       To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting ID
and password.

       To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. Then enter the meeting ID and password.

        Meeting ID and password. The meeting ID for this hearing is 161 329 5276 and the
password is 433658. The meeting ID and password can also be found on the judge’s page on the
court’s web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.

                                                   /s/ Spencer C. Ezell
                                                   Spencer C. Ezell, Trial Attorney
                                                   OFFICE OF THE U.S. TRUSTEE
                                                   219 S. Dearborn, Room 873
                                                   Chicago, Illinois 60604
                                                    262-613-8737
  Case 21-08044      Doc 77     Filed 05/26/22 Entered 05/26/22 10:54:37          Desc Main
                                  Document     Page 2 of 9



                               CERTIFICATE OF SERVICE

        I, Spencer C. Ezell, Trial Attorney, certify that on May 26, 2022, I caused to be served
copies of the UNITED STATES TRUSTEE’S MOTION TO CONVERT OR DISMISS CASE
PURSUANT TO 11 U.S.C. 1112(b) on the ECF Registrants shown below via the Court’s
Electronic Notice for Registrants and via First Class US Mail by BMC Group on all other entities
shown at the addresses listed below. A supplement to this Certificate of Service from BMC Group
will be filed.

                                                   /s/ Spencer C. Ezell


                                           SERVICE LIST

Registrants Served Through the Court’s Electronic Notice for Registrants:

       O. Allan Fridman             allanfridman@gmail.com
       David J. Schwab              djschwab@rsslawoffices.com
       Joel H. Norton               jnorton@rsslawoffices.com
       Caleb T. Holzaepfel          caleb.holzaepfel@huschblackwell.com



SEE FOLLOWING FIRST CLASS MAIL SERVICE LIST
(CONTINUED ON NEXT PAGE)
                  Case 21-08044      Doc 77     Filed 05/26/22            Entered 05/26/22 10:54:37     Desc Main
Label Matrix for local noticing               HARI Document
                                                   108, LLC           Page 3 of 9            MBH Investments LLC
0752-1                                        235 3RD STREET                                 953 N. Plum Grove Rd.
Case 21-08044                                 La Salle, IL 61301-2335                        Unit B
Northern District of Illinois                                                                Schaumburg, IL 60173-4783
Eastern Division
Thu May 26 09:53:49 CDT 2022
U.S. Bankruptcy Court                         Amber R Seller                                 American Express National Bank
Eastern Division                              533 Clark St.                                  c/o Becket and Lee LLP
219 S Dearborn                                Marseilles, IL 61341-1343                      PO Box 3001
7th Floor                                                                                    Malvern PA 19355-0701
Chicago, IL 60604-1702

Amin Law Offices, LTD                         Andrew J. Kamphaus                             Angelo V Giacobazzi
1900 E. Golf Road Suite 1120                  1509 Calhoun St                                509 7th Street
Schaumburg, IL 60173-5080                     Peru, IL 61354-2154                            Peru, IL 61354-2801



Anthony Marano                                Associated Wholesale Grocers, Inc.             Associated Wholesale Grocers, Inc.
3000 S Ashland Ave.                           5000 Kansas Avenue                             c/o Caleb Holzaepfel
Chicago, IL 60608-5333                        Kansas City, KS 66106-1135                     Husch Blackwell LLP
                                                                                             736 Georgia Avenue, Suite 300
                                                                                             Chattanooga, TN 37402-2059

Associated Wholesale Grocers, Inc.            Benjamin Postula                               Bimbo Bakery
c/o Mark T. Benedict                          Peru, IL 61354                                 PO Box 74100027
4801 Main Street, Suite 1000                                                                 Chicago, IL 60674-0001
Kansas City, MO 64112-2551


Brandon M Knickerbocker                       COSTCO - Citi Card                             (p)JPMORGAN CHASE BANK N A
1020 2nd St Apt 705                           P.O. BOX 9001037                               BANKRUPTCY MAIL INTAKE TEAM
La Salle, IL 61301-2553                       Louisville, KY 40290-1037                      700 KANSAS LANE FLOOR 01
                                                                                             MONROE LA 71203-4774


Crystal Sluder                                David J Schwab                                 Denise Fraga
1020 2nd St 408                               Ralph, Schwab & Schiever, Chtd                 363 Bucklin St
La Salle, IL 61301-2552                       3 Hawthorn Pkwy Ste 370                        La Salle, IL 61301-2034
                                              Vernon Hills, IL 60061-1449


(p)INTERNAL REVENUE SERVICE                   Drew C Arbisi                                  Eric B Loebach
CENTRALIZED INSOLVENCY OPERATIONS             137 Vermilionvue Trce                          312 E Florence St
PO BOX 7346                                   La Salle, IL 61301-9502                        Oglesby, IL 61348-1237
PHILADELPHIA PA 19101-7346


Evelyn Laurrabaquio                           Gale A Jordan                                  Griffin J Doll
1815 14th St                                  227 Tonti St                                   615 Clark Street
Peru, IL 61354-1722                           La Salle, IL 61301-2527                        Oglesby, IL 61348-1109



HUSCH BLACKWELL LLP                           Holly A Lafferty                               JPMorgan Chase Bank, N.A.
C/O Caleb Holzaepfel                          336 10th St                                    s/b/m/t Chase Bank USA, N.A.
736 Georgia Avenue, Suite 300                 La Salle, IL 61301-1749                        c/o National Bankruptcy Services, LLC
Chattanooga, TN 37402-2059                                                                   P.O. Box 9013
                                                                                             Addison, Texas 75001-9013
                  Case 21-08044       Doc 77     Filed 05/26/22            Entered 05/26/22 10:54:37     Desc Main
Jacobs, Burns, Orlove & Hernandez              Jacquelyn Caputo
                                                    Document           Page 4 of 9            Jeffrey S. Endick
150 North Michigan Ave. Suite 10000            1570 Chartres St                               1625 Massachusetts Ave NW, Suite 450
Chicago, IL 60601-7569                         La Salle, IL 61301-1368                        Washington 20036-2246



Josue E Bustos                                 Lewis Bakery                                   MBH Investments, LLC
510 N Power St                                 1220 West Michigan                             David J. Schwab & Ralph, Schwab & Schiev
Spring Valley, IL 61362-1558                   Evansville, IN 47710                           3 Hawthorn Parkway, Suite 200
                                                                                              Vernon Hills, Il 60061-1446


Mackenzie Heinzeroth                           Makenzee J Koehl                               Maria G Castaneda
427 7th St                                     409 Fitzgerald St                              216 4th St
La Salle, IL 61301-1801                        Oglesby, IL 61348-1014                         La Salle, IL 61301-2025



New Tribune Ad Flyer                           Pamela S Raley                                 Roy F Montensen
426 Second Street                              413 Green St                                   533 Clark St
La Salle, IL 61301-2366                        Peru, IL 61354-3264                            Marseilles, IL 61341-1343



SAM Card-Synchrony                             SANJAY AMIN                                    SBA Loan
P.O. Box 965004                                1323 LAZY HOLLOW CT                            500 W. Madison Street
Orlando, FL 32896-5004                         Naperville, IL 60565-1753                      Suite 1150
                                                                                              Chicago, IL 60661-2566


SONIYA AMIN                                    Sarah L Sluder                                 Shaw Media
1323 LAZY HOLLOW CT                            1222 1/2 Laharpe St                            New Tribune Ad Flyer
Naperville, IL 60565-1753                      La Salle, IL 61301-1667                        426 Second Street
                                                                                              La Salle, IL 61301-2366


The Karmel Law Firm                            Todd Miller Miller ALocoa                      U.S. Small Business Administration
221 N. Lasalle St. Suite 1550                  Allocco, Miller & Cahill, P.C.                 409 3rd St SW,
Chicago, IL 60601-1224                         20 N. Wacker Drive, Suite 3517                 Washington, DC 20024-3212
                                               Chicago, IL 60606-3108


U.S. Small Business Administration             UFCW Int. Union Industry Pension               UFCW International Union--Industry Pension F
Sameena Nabijee                                PO Box 3891                                    1625 Massachusetts Ave NW, Suite 450
500 W Madison, Suite 1150                      Hinsdale, IL 60522-3891                        Washington, DC 20036-2246
Chicago, IL 60661-2566


United Food & Commercial Workers. U            United Food and Commercial Workers             United Food and Commercial Workers
2625 Butterfield Rd., Suite 208E               Int. Union Industry Pension                    Jacobs, Burns, Orlove & Hernandez
Oak Brook, IL 60523-3417                       PO Box 3891                                    150 North Michigan Ave. Suite 10000
                                               Hinsdale, IL 60522-3891                        Chicago, IL 60601-7553


United Food and Commercial Workers             United Food and Commercial Workers             United Food& Comm Workers-Pension
The Karmel Law Firm                            Unions and Employers Midwest                   Jacobs, Burns, Orlove & Hernandez
221 N. Lasalle St. Suite 1550                  2625 Butterfield Rd., Suite 208E               150 North Michigan Avenue
Chicago, IL 60601-1224                         Oak Brook, IL 60523-3417                       Chicago, IL 60601-7553
                  Case 21-08044           Doc 77       Filed 05/26/22         Entered 05/26/22 10:54:37              Desc Main
United Healthcare                                    O Allan Fridman
                                                          Document           Page 5 of 9                  Patrick S Layng
UHS Premium Billing                                  Law office of O. Allan Fridman                       Office of the U.S. Trustee, Region 11
PO Box 94017                                         555 Skokie Blvd                                      219 S Dearborn St
Palatine, IL 60094-4017                              Suite 500                                            Room 873
                                                     Northbrook, IL 60062-2845                            Chicago, IL 60604-2027



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase Bank Usa, Na                                   Department of the Treasury
201 N. Walnut St//De1-1027                           Internal Revenue Service
Wilmington, DE 19801                                 230 S Dearborn St Stop 5014-CHI
                                                     Chicago IL 60604




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Associated Wholesale Grocers, Inc.                (d)MBH Investments, LLC                              End of Label Matrix
                                                     953 N PLUM GROVE RD UNIT B                           Mailable recipients   62
                                                     Schaumburg, IL 60173-4783                            Bypassed recipients    2
                                                                                                          Total                 64
  Case 21-08044          Doc 77    Filed 05/26/22 Entered 05/26/22 10:54:37            Desc Main
                                     Document     Page 6 of 9



                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

         IN RE:                                         )      CHAPTER 11
                                                        )
         HARI 108, LLC,                                 )      CASE NO. 21-08044
                                                        )
                                  DEBTOR.               )      Hon. Timothy A. Barnes


        U.S. TRUSTEE’S MOTION TO CONVERT OR DISMISS CHAPTER 11 CASE

         Patrick S. Layng, the United States Trustee for the Northern District of Illinois (the “U.S.

Trustee”), by and through his attorney, Spencer C. Ezell, hereby moves this Court to enter an

order converting or dismissing the above-captioned Chapter 11 case. In support of his motion,

the U.S. Trustee states to the Court as follows:

                                           JURISDICTION

         1.       This is a core proceeding concerning the administration of the estate pursuant to

28 U.S.C. § 157(b)(2)(A) which this Court may hear and determine pursuant to IOP 15(A) and

LR 40.3.1 of the United States District Court for the Northern District of Illinois.

         2.       Venue of this case in this District is proper pursuant to 28 U.S.C. §§ 1408 and

1409.

         3.       Movant is the U.S. Trustee for the Northern District of Illinois and is charged with

supervising the administration of bankruptcy cases under 28 U.S.C. § 586(a). The U.S. Trustee

makes this request pursuant to 11 U.S.C. § 1112(b)(1).

                                           BACKGROUND

         4.       HARI 108, LLC (the “Debtor”) initiated this case on June 30, 2021 (the “Petition

Date”) by filing a petition for relief under Chapter 11 of the Bankruptcy Code. The Debtor is a




                                                       1
     Case 21-08044    Doc 77     Filed 05/26/22 Entered 05/26/22 10:54:37           Desc Main
                                   Document     Page 7 of 9



small business debtor as defined by Section 101(51D) of the Bankruptcy Code. See dkt. 1, Line

8.

         5.    Since the Petition Date, the Debtor has remained in possession and control of its

assets and continues to manage its affairs pursuant to Sections 1107 and 1108 as a debtor-in-

possession.

         6.    The Debtor operates a grocery store in LaSalle, Illinois.

         7.    Prior to the petition date, the Debtor was a member of the Central Grocers

distribution and rebate program. When Central Grocers filed for Chapter 11 bankruptcy, the

Debtor lost at least $248,000 in rebates and members interests.

         8.    The Debtor filed its Plan of Reorganization (the “Plan”) and Disclose Statement

on December 27, 2021. Dkts. 63, 64.

         9.    The Plan and Disclosure Statement were not confirmed.

         10.   On April 28, 2022, the Debtor filed an Amended Plan of Reorganization (the

“Amended Plan”) and Amended Disclosure Statement. Dkts. 69, 70.

         11.   On the same date, the Debtor filed a Motion to Extend Time Confirmation

Deadline Pursuant to Section 1129(e) (the “Motion”).

         12.   The U.S. Trustee objected to the Motion and the Court sustained the U.S.

Trustee’s objection and denied the Debtor’s Motion. Dkts. 72, 76.

         13.   For the reasons set forth below, the Debtor is unable to timely confirm a plan of

reorganization, which constitutes cause to convert or dismiss this case.

                                     LEGAL ARGUMENT

         14.   In relevant part, Section 1112(b) of the Bankruptcy Code provides that on the

request of a party in interest, and after notice and a hearing, the court shall convert the case to



                                                    2
  Case 21-08044       Doc 77     Filed 05/26/22 Entered 05/26/22 10:54:37             Desc Main
                                   Document     Page 8 of 9



Chapter 7 or dismiss the case, whichever is in the best interests of creditors of the estate, so long

as the movant establishes “cause.” See 11 U.S.C. § 1112(b)(1).

       15.     Section 1112(b)(4) sets forth a list of sixteen grounds that constitute “cause” for

conversion or dismissal. See 11 U.S.C. § 1112(b)(4)(A)-(P). This list is not exhaustive, and a

case may be dismissed or converted for causes other than those specifically identified in Section

1112(b)(4). See In re Tekena USA, LLC, 419 B.R. 341, 346 (Bankr. N.D. Ill. 2009); In Matter of

Strug-Division, LLC, 375 B.R. 445, 448 (Bankr. N.D. Ill. 2007).

       16.     Subsection (b) of Section 1112 enumerates ten examples of events or conduct that

constitute cause, which includes:

               (J) failure to file a disclosure statement, or to file or confirm a plan, within the
               time fixed by this title or by order of the court;

11 U.S.C. § 1112(b)(4).

       17.     Section 1121(e)(2) requires a small business debtor to file the plan and disclosure

statement no later than 300 days after the petition date. Once a small business debtor files the

plan and disclosure statement, it has 45 days therefrom to obtain court confirmation of the plan.

See 11 U.S.C. § 1129(e).

       18.     A small business debtor may only extend this deadline by satisfying all three

requirements of Section 1121(e)(3). Namely, the Debtor must demonstrate that it is more likely

than not that the court will confirm the plan within a reasonable amount of time; the new

deadline is imposed at the time the extension is granted; and the order extending the deadline is

signed before the existing deadline expires. 11 U.S.C. § 1121(e)(3).

       19.     A small business debtor cannot reset or create a new 45-day confirmation

deadline by filing an amended plan. See In re Wheelchair Sales & Servs., 593 B.R. 321 (Bankr.

N.D. Ill. 2018).

                                                     3
  Case 21-08044       Doc 77     Filed 05/26/22 Entered 05/26/22 10:54:37              Desc Main
                                   Document     Page 9 of 9



       20.     Upon filing its Plan, the Debtor began its confirmation window, which expired on

February 10, 2022. The Court neither confirmed the Plan nor entered a signed order extending

the deadline on or before February 10, 2022.

       21.     Therefore, since the Debtor failed to confirm its Plan or extend the original

confirmation deadline, the Debtor cannot get a new 45-day deadline by filing an Amended Plan.

       22.     Consequently, the Debtor is unable to timely confirm a plan of reorganization,

which constitutes “cause” to convert or dismiss this case. See In re 250 Pixley Rd., LLC, 2018

Bankr. LEXIS 765, 2018 WL 1381316, *3–4 (Bankr. W.D.N.Y. Mar. 16, 2018) (“There is no

longer any possibility that a plan could be confirmed within the time frames established by 11

U.S.C. §§ 1121(e) and 1129(e)—those deadlines have passed.”).

                                         CONCLUSION

       23.     As a result of the foregoing, the U.S. Trustee requests that this case be converted

or dismissed for cause shown.

       WHEREFORE, the U.S. Trustee respectfully asks this Court for an order converting or

dismissing this Chapter 11 case, and for such other relief as this Court deems just.



                                                     RESPECTFULLY SUBMITTED:

                                                     PATRICK S. LAYNG
                                                     UNITED STATES TRUSTEE

DATED: May 26, 2022                                  /s/Spencer C. Ezell,
                                                     Spencer C. Ezell, Trial Attorney
                                                     OFFICE OF THE U.S. TRUSTEE
                                                     219 S. Dearborn, Room 873
                                                     Chicago, Illinois 60604
                                                     202-702-6338




                                                     4
